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The following constitutes the ruling of the court and has the force and effect therein described.




Signed October 14, 2022
______________________________________________________________________



                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

                                                                     §
         In re:
                                                                     §   Chapter 11
                                                                     §
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                     §   Case No. 19-34054-sgj11
                                                                     §
                                         Reorganized Debtor.
                                                                     §

                                AGREED SCHEDULING ORDER
                    ON RENEWED MOTION TO RECUSE PURSUANT TO 28 U.S.C. § 455
                  The Court, having considered the joint request of Highland Capital Management, L.P.

     (“Highland” or the “Reorganized Debtor”), on the one hand, and James Dondero, Highland Capital

     Management Fund Advisors, L.P., NexPoint Advisors, L.P., The Dugaboy Investment Trust, The

     Get Good Trust, and NexPoint Real Estate Partners, LLC f/k/a HCRE Partners, LLC (collectively,

     the “Dondero Parties” and together with Highland, the “Parties”), on the other hand, to enter the
     scheduling order reflected herein with respect to the Dondero Parties’ Renewed Motion to Recuse

     Pursuant to 28 U.S.C. § 455 [Docket No. 3541] (the “Motion to Recuse”), and it appearing that

     this Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and it appearing that the

     Court can hear and determine this matter pursuant to 28 U.S.C. § 157 and the standing order of

     reference in this District; and it appearing that this is a core proceeding under

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       The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
     service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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28 U.S.C. § 157(b)(2); and it appearing that venue of this proceeding and this matter is properly

in this District under 28 U.S.C. §§ 1408 and 1409; and after considering the agreement of the

Parties to the terms of this Scheduling Order, the Court finds that good and sufficient cause exists

to enter this Scheduling Order; accordingly it is hereby ORDERED THAT:

       1.      Highland’s response (the “Response”) to the Motion to Recuse must be filed with

the Court on or before Monday, October 31, 2022, at 5:00 p.m. (Central Time), unless otherwise

extended in writing by agreement of the Parties.

       2.      The Dondero Parties’ reply (the “Reply”, and together with the Response, the

“Pleadings”), if any, in support of the Motion to Recuse must be filed with the Court on or before
Monday, November 14, 2022, at 5:00 p.m. (Central Time), unless otherwise extended in writing

by agreement of the Parties.

       3.      After the expiration of the above-referenced deadlines for the filing of the

Pleadings, the Court will set the Motion to Recuse for oral argument if either (i) the Court

determines, in its sole discretion, that oral argument will be beneficial in deciding the Motion to

Recuse, or (ii) any party timely requests a hearing on the Motion to Recuse.

       4.      The deadlines set forth in this Order shall only be modified in a writing signed by

the Parties or upon the entry of an order of the Court entered upon notice to the Parties.

       5.      The Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Scheduling Order.

                                   ### END OF ORDER ###




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Agreed as to form and substance:


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- and -

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- and -




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